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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 Case No.: 18-cv-22798-CIV-FAM

   JAVIER CARDENAS, RODNEY BAKER,
   and MICHELLE MONGE, individually and
   on behalf of all others similarly situated,

          Plaintiffs,

          v.

   TOYOTA MOTOR CORPORATION,
   TOYOTA MOTOR SALES, U.S.A., INC.,
   TOYOTA MOTOR ENGINEERING &
   MANUFACTURING NORTH AMERICA,
   INC., and SOUTHEAST TOYOTA
   DISTRIBUTORS, LLC,

          Defendants.
                                   /



                 PLAINTIFFS’ OMNIBUS MOTION FOR ORDERS IN LIMINE
                     AND INCORPORATED MEMORANDUM OF LAW
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   I.       INTRODUCTION1
            Pursuant to the Court’s Order of Continuance and Order Revising Pretrial Deadlines (ECF
   No. 96), Plaintiffs Javier Cardenas, Rodney Baker, and Michelle Monge (collectively,
   “Plaintiffs”), respectfully move the Court for an Order granting 14 Motions in Limine (“MIL”), as
   set forth below, with respect to various anticipated arguments or pieces of evidence at the
   upcoming trial. Plaintiffs seek to preclude Defendants Toyota Motor Corporation (“TMC”),
   Toyota Motors Sales, U.S.A., Inc. (“TMS”), and Toyota Motor Engineering & Manufacturing
   North America, Inc. (“TEMA”) (collectively “Toyota” or the “Toyota Defendants”), and
   Defendant Southeast Toyota Distributors, LLC (“SET,” and collectively with Toyota,
   “Defendants”), their counsel, experts, and any and all of their corporate representatives and
   witnesses from offering at trial information or evidence in any form questioning, contradicting or
   negatively referencing the matters set forth in the MILs and from presenting to the jury in any
   manner, whether in voir dire, opening statements, questions to witnesses, objections, closing
   arguments, or otherwise, any of the information set forth in the MILs.
            Plaintiffs further move the Court to order attorneys for Defendants to inform and counsel
   their experts, clients, and witnesses not to volunteer, inject, disclose, state, or mention to the jury
   any of the matters set forth below until specifically questioned thereon after a prior ruling by the
   Court.
            The matters set out below would be inadmissible for any purpose on proper and timely
   objection because they (i) have no bearing on the issues in this case or the rights of the parties to
   this suit, (ii) would be inadmissible pursuant to the Federal Rules of Evidence, and/or (iii) would
   be unsupported by any evidence. Permitting interrogation of witnesses, comments to jurors or
   prospective jurors, or offers of evidence concerning any of the matters set forth below would
   prejudice the jury, and sustaining objections to such questions, statements, or evidence introduced
   by counsel or witness will not prevent prejudice, but will reinforce the development of
   questionable evidence. If any of these matters are brought to the attention of the jury or jury panel,
   the jury or jury panel would be tainted and Plaintiffs would be compelled to move for a mistrial.
            In accordance with the Federal Rules of Evidence, and for the reasons set forth below,
   Plaintiffs move to bar argument and evidence as set forth in paragraphs 1-xx below.


   1
    Unless otherwise indicated, all internal citations and quotations are omitted and all emphases are
   added.


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   II.    COMMON LEGAL STANDARDS
          “A motion in limine presents a trial court with pretrial issues regarding admissibility of
   evidence that a party is likely to present at trial.” Soto v. Geico Indem. Co., 2014 WL 3644247, at
   *1 (M.D. Fla. July 21, 2014). “The purpose of a motion in limine is to give the court notice of the
   movant’s intent in order to avoid the introduction of damaging evidence, which could affect the
   fairness of the trial.” Stern v. NCL Bah. Ltd., 2020 WL 6822979, at *1 (S.D. Fla. Sept. 23, 2020)
   (Louis, J.). Indeed, under Federal Rule of Evidence 103(d), this Court has a duty—to the extent
   practicable—“[to] conduct a jury trial so that inadmissible evidence is not suggested to the jury by
   any means.” Fed. R. Evid. 103(d). This Court has authority to adjudicate motions in limine
   pursuant to its “inherent authority to manage the course of trials.” Luce v. United States, 469 U.S.
   38, 41 n.4 (1984).
          Certain of the Federal Rules of Evidence are particularly relevant to the instant motions.
   Under Rule 104, the Court “must decide any preliminary question[s]” about, among other things,
   the admissibility of evidence. Fed. R. Evid. 104(a). “In so deciding, the [C]ourt is not bound by
   evidence rules, except those on privilege.” Id. Under Rule 402, only relevant evidence is
   admissible. Fed. R. Evid. 402. Evidence is relevant if it has “any tendency to make a fact . . . of
   consequence in determining the action . . . more or less probable than it would be without the
   evidence[.]” Fed. R. Evid. 401. However, even relevant evidence may be excluded “if its probative
   value is substantially outweighed by a danger of . . . unfair prejudice, confusing the issues,
   misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.”
   Fed. R. Evid. 403. A matter is particularly suited for an order in limine when a limiting instruction
   would likely prove ineffective. See Fed. R. Evid. 403, advisory committee’s note on proposed
   rules. Under these standards, and those cited below, Plaintiffs respectfully request the Court grant
   the following motions in limine.
   III.   ARGUMENT
          Plaintiffs’ MIL No. 1: Plaintiffs’ Financial Condition. Plaintiffs move to preclude
   Defendants from presenting any testimony, documents, evidence, argument, or referencing
   Plaintiffs’ financial conditions. Such reference is irrelevant, or if relevant, any such relevance
   would be outweighed by the prejudice and confusion it would cause the jury. See Fed. R. Evid.
   402, 403.




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           “The general rule is that, during trial, no reference should be made to the wealth or poverty
   of a party, nor should the financial status of one party be contrasted with the other’s.” Sampson v.
   Carnival Corp., 2016 WL 11547653, at *1 (S.D. Fla. Dec. 9, 2016). Here, Plaintiffs’ financial
   conditions are clearly irrelevant to their claims—namely, whether Defendants misrepresented and
   fraudulently concealed the HVAC Defect and whether Plaintiffs were injured as a result. See, e.g.,
   Sanderson v. Winner, 507 F.2d 477, 479-80 (10th Cir. 1974); Slantis v. Capozzi & Assoc., P.C.,
   2010 WL 3122868, at *3 (M.D. Pa. Aug. 9, 2010) (finding evidence of plaintiff’s financial
   obligations irrelevant); Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 2006 WL
   2724879, at *6-7 (D. Del. Sept. 20, 2006) (evidence of plaintiff’s earnings irrelevant); In re
   Homestore.com, Inc., 2011 WL 291176, at *1 (C.D. Cal. Jan. 25, 2011) (“Evidence of a party’s
   financial condition is generally not relevant and can be unduly prejudicial, as it can distract the
   jury from the real issues in the case.”).
           Accordingly, Defendants should be prevented from presenting any testimony, documents,
   evidence, arguments, or referencing Plaintiffs’ financial condition. See Fed. R. Evid. 402, 403.
           Plaintiffs’ MIL No. 2: Plaintiffs’ Counsel’s Involvement in Other Litigation or Fees.
   Plaintiffs move to preclude Defendants from presenting any testimony, documents, evidence,
   argument, or referencing other litigation involving Plaintiffs’ counsel, or to Plaintiffs’ counsel’s
   fee arrangements in this or any other litigation. Such reference is irrelevant, or if relevant, any such
   relevance would be outweighed by the prejudice and confusion it would cause the jury. See Fed.
   R. Evid. 402, 403.
           Attorneys’ fees and costs are exclusively post-trial matters and, if presented at trial, may
   cause confusion to the jury. Indeed, “there is no legal basis for referring to attorneys’ fees and
   costs at trial.” Gordils v. Ocean Drive Limousines, Inc., 2014 WL 4954141, at *1 (S.D. Fla. Oct.
   2, 2014) (granting plaintiff’s motion in limine requesting exclusion of referring to attorneys’ fees
   and costs during trial). Further, evidence of Plaintiffs’ counsel’s fee arrangement in this or any
   other litigation is also irrelevant. See Miller ex rel. Miller v. Ford Motor Co., 2004 WL 4054843,
   at *6 (M.D. Fla. July 22, 2004) (granting plaintiff’s motion in limine to exclude evidence of
   contingency fee arrangement); Scott v. Hess Retail Operations, LLC, 2015 WL 4602605, at *4
   (M.D. Fla. July 29, 2015) (same).
           Finally, Defendants also should be prevented from presenting evidence referencing other
   litigation involving Plaintiffs’ counsel. Such evidence is irrelevant and inadmissible under Rules



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   401 and 402 and its probative value is substantially outweighed by the potential prejudice under
   Rule 403. See, e.g., Riley v. Ford Motor Co., 2011 WL 3273592, at *2, *6 (S.D. Miss. July 29,
   2011) (granting motion in limine to exclude evidence concerning counsel’s “roles in other
   lawsuits”); Smith v. Cnty. of Riverside, 2018 WL 7500278, at *5 (C.D. Cal. Nov. 14, 2018)
   (excluding evidence “about Defendants’ law firm, other litigation involving defendants” among
   other things). See also Drummond Coal Sales, Inc. v. Norfolk S. Ry. Co., 2019 WL 3307850, at
   *6 (W.D. Va. July 22, 2019) (granting motion in limine to the extent that defendant attempts to
   introduce evidence of other litigation to portray plaintiff as a serial litigant); In re Homestore.com,
   Inc., 2011 WL 291176, at *1 (“[R]eference to or evidence of Plaintiff’s involvement in other
   litigation prior to this Action is also irrelevant and carries with it a high risk of prejudice.”).
           Accordingly, Defendants should be prevented from presenting any testimony, documents,
   evidence, arguments, or referencing other litigation involving Plaintiffs’ counsel, or to Plaintiffs’
   counsel’s fee arrangements in this or any other litigation.
           Plaintiffs’ MIL No. 3: Unavailable Witnesses. Plaintiffs move to preclude Defendants
   from calling any witness in their case-in-chief if the witness was unavailable for Plaintiffs’ case-
   in-chief. The Court should exercise its discretion under Federal Rule of Evidence 611(a) to prevent
   Defendants from calling any witness in their case-in-chief if the witness was unavailable for
   Plaintiffs’ case-in-chief.
           Plaintiffs anticipate that Defendants will disclose certain employee witnesses who are
   outside of this Court’s subpoena power, and thus, Plaintiffs will be unable to secure their live
   testimony at trial. See Fed. R. Civ. P. 45(c). Of the 12 depositions Plaintiffs took of Defendants’
   employees, only three reside or are employed in Florida. Plaintiffs will be unfairly prejudiced if
   they are forced to rely on deposition testimony of the employee witnesses in their case-in-chief
   while Defendants call those witnesses live in their case-in-chief. See R.B. Matthews v.
   Transamerica Transp. Servs., Inc., 945 F.2d 269, 273 (9th Cir. 1991). “Courts have properly
   denounced this strategy as ‘gamesmanship’” and “numerous courts have held that a party may not
   limit a witness that the party intends to call at trial from testifying only during its own case in
   chief.” Buchwald v. Renco Grp., Inc., 2014 WL 4207113, at *1 (S.D.N.Y Aug. 25, 2014). If
   Defendants intend to offer live testimony at trial, those witnesses should be produced live for
   Plaintiffs’ case-in-chief. To the extent Defendants do not produce employee witnesses live for




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   Plaintiffs’ case-in-chief, they should be barred from presenting those witnesses live in their own
   case-in-chief.
           Under Federal Rule of Evidence 611(a), the Court may “exercise reasonable control over
   the mode and order of examining witnesses” and, in doing so, preclude Defendants from calling
   witnesses live during their own case when they refuse to make those same individuals available
   for Plaintiffs’ case-in-chief. See Fed. R. Evid. 611(a). Indeed, in R.B. Matthews, the Ninth Circuit
   affirmed a district court’s decision to bar defendants from calling witnesses they refused to
   produce, or bring within the subpoena power of the court, for examination during plaintiff’s case-
   in-chief, recognizing that otherwise, defendant would be “engaged in gamesmanship” forcing
   plaintiff to rely on depositions while presenting live testimony of the same witnesses. 945 F.2d at
   273. Such gamesmanship is disfavored because of the inherent disparity between deposition
   testimony in Plaintiffs’ case and live testimony in the Defendants’ case, “especially when
   credibility is at issue as in the case of fraud allegations” because that “would result in inequitable
   treatment.” Iorio v. Allianz Life Ins. Co. of N. Am., 2009 WL 3415689, at *5-6 (S.D. Cal. Oct. 21,
   2009) (holding “if Plaintiffs are forced to show the videotaped depositions or read the transcript
   into the record of any [witnesses] . . . because Defendants have failed to produce them, Defendants
   will thereafter be precluded from producing the same witnesses in person.”). See also Buchwald,
   2014 WL 4207113, at *3 (denying defendants’ motion for a protective order to prevent plaintiff
   from compelling testimony from certain witnesses and holding that “any such witness from which
   Defendants wish to elicit live testimony must be made available to testify in the [plaintiffs’] case
   in chief.”).
           Plaintiffs ask the Court to apply this straightforward approach here and prevent Defendants
   from calling any witness in their case if that witness refused to testify live in Plaintiffs’ case-in-
   chief. To allow otherwise would encourage the type of “gamesmanship” that courts routinely seek
   to prevent.
           Plaintiffs’ MIL No. 4: Evidence Concerning Absent Class Members and Non-Class
   Members. Plaintiffs move to preclude Defendants from presenting any testimony, documents,
   evidence, or argument referencing names of members of the Classes, other than the named
   Plaintiffs, or any non-Class members, or from presenting any testimony, documents, evidence, or
   argument that any absent member of the Classes or non-Class member has any claim or is subject
   to any defense that is different from any of the Plaintiffs’ claims. Such reference is irrelevant, or



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   if relevant, any such relevance would be outweighed by the prejudice and confusion it would cause
   the jury. See Fed. R. Evid. 402, 403.
          In the upcoming trial, Plaintiffs intend to present the named Plaintiffs and not reference
   each and every absent Class member or non-Class member. Assuming Plaintiffs prevail on their
   pending Motion for Class Certification, the issues before the jury will be classwide liability issues
   concerning Defendants’ conduct. Further, assuming the Court grants class certification, any issues
   concerning adequacy and typicality will be decided and whether Defendants would be found liable
   for the claims of the members of the Classes hinges wholly upon whether Defendants would be
   found liable for the claims of the named Plaintiffs:
          The main principle behind typicality is that the plaintiff will advance the interests
          of the class members by advancing her or his own self-interest. The alignment of
          interest is not the test for typicality. It is the result. The plaintiffs and class members
          have similar interests because they have similar claims. The plaintiff whose claim
          is typical will ordinarily establish the defendants’ liability to the entire class
          by proving his or her individual claim.
   In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D. 672, 687 (S.D. Fla. 2004) (quoting 6
   Alba Conte & Herbert Newberg, Newberg on Class Actions §18:8 (4th ed. 2002)).
          Defendants were afforded ample opportunity to challenge class certification, contest the
   adequacy of Plaintiffs as Class representatives, and attack the typicality of their claims. By trial,
   class certification will be decided and absent class members will be irrelevant. See, e.g., Baker v.
   SeaWorld Ent., Inc., 2020 WL 241441, at *1 (S.D. Cal. Jan. 16, 2020) (tentatively granting motion
   in limine to exclude argument concerning the absence of plaintiffs from liability phase of
   bifurcated securities class action trial holding “the absence of Plaintiffs is irrelevant”); Minute
   Entry, Baker v. SeaWorld Ent., Inc., No. 14-cv-2129 (S.D. Cal. Jan. 21, 2020), ECF No. 508
   (affirming tentative ruling).
          Given the above, any testimony, documents, evidence, or argument concerning members
   of the Classes, other than named Plaintiffs, or non-Class members, or that any absent Class member
   or non-Class member has any claim (or is subject to any defense) that is different from any of the
   Plaintiffs’ claims should be excluded as irrelevant. See Fed. R. Evid. 402 (“Irrelevant evidence is
   not admissible.”). Indeed, after a class is certified, the success or failure of the Class claims must
   be based on the success or failure of the Class representative’s claims. If not, there is little purpose
   in certifying the Class in the first place; the parties could have achieved the same result by treating
   each Class members’ claim as an individual matter ripe for individual adjudication.


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           Accordingly, any belated attempt by Defendants to present evidence concerning, or making
   reference to, unnamed members of the Classes or non-Class members and the circumstances
   underlying their claims would undermine the class action mechanism and affront the Court’s
   forthcoming determination of class certification in this case. For these reasons, Plaintiffs ask that
   the Court exclude any attempt by Defendants to introduce evidence regarding, or make reference
   to, members of the Classes, other than the named Plaintiffs, or non-Class members or that any
   absent member of the Classes or any non-Class member has any claim (or is subject to any defense)
   that is different from any of the Plaintiffs’ claims.
           Plaintiffs’ MIL No. 5: Sequestering Fact Witnesses. Plaintiffs move to exclude
   Defendants’ fact witnesses from the courtroom during trial and preclude Defendants’ fact
   witnesses from reading transcripts or discussing proceedings with other witnesses and Defendants’
   employees while the trial is ongoing.
           Under Federal Rule of Evidence 615, at Plaintiffs’ request, the Court must exclude
   Defendants’ fact witnesses from the courtroom during trial. Fed. R. Evid. 615. Federal Rule of
   Evidence 615 provides that “[a]t a party’s request, the court must order witnesses excluded so that
   they cannot hear other witnesses’ testimony.” Id. “The authority of the judge [to sequester
   witnesses] is admitted, the only question being whether the matter is committed to his discretion
   or one of right. The rule takes the latter position.” Fed. R. Evid. 615, advisory committee’s note
   on proposed rules.
           “The rule of sequestration serves to: (1) exercise a restraint on witnesses attempting to
   tailor their testimony to that of earlier witnesses; and (2) it aids in detecting testimony that is less
   than candid.” United States v. Ubieta, 630 F. App’x 964, 972 (11th Cir. 2015). Preventing a fact
   witness from hearing ongoing testimony of other witnesses reduces the risk of fabrication,
   collusion, and inaccuracy. See 4 Weinstein’s Federal Evidence § 615.02 (2020). Sequestration
   under Federal Rule of Evidence 615 properly extends to opening and closing statements in order
   to fulfill the Rule’s purpose of promoting truthful and accurate testimony that is not shaped by the
   remarks or testimony of others.
           Plaintiffs will be severely prejudiced if the Court were to allow adverse fact witnesses to
   observe each other’s testimony and/or consult with other witnesses, Defendants’ employees, or
   counsel before testifying. The failure to exclude such witnesses will particularly handicap and
   prejudice Plaintiffs who will present their case, in part, through adverse witnesses. Indeed, many



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   of the witnesses are current or former employees of Defendants. Likewise, an order excluding fact
   witnesses from the courtroom for the purpose of insulating them from others’ testimony would be
   meaningless if they nonetheless learned of the testimony from others, including other witnesses,
   employees, or Defendants’ counsel.
          For these reasons, Plaintiffs ask that this Court exclude Defendants’ fact witnesses from
   the courtroom (except while testifying) and, also, preclude them from reading transcripts or
   discussing the proceedings with other witnesses, Defendants’ employees, or counsel while trial is
   ongoing. Further, because Federal Rule of Evidence 615 permits only one “officer or employee of
   a party that is not a natural person, after being designated as the party’s representative by its
   attorney” to avoid sequestration, Plaintiffs also requests that the Court allow no more than one
   party representative from each Defendant to attend the trial. See Fed. R. Evid. 615. Each party
   needs no more than one party representative to appear and allowing more than one would undercut
   the rule that fact witnesses should not be present in the courtroom.
          Plaintiffs’ MIL No. 6: Evidence that Contradicts Rule 30(b)(6) Testimony. Plaintiffs
   move to preclude Defendants from presenting any testimony, documents, evidence, or argument
   that questions, contradicts, or negatively references Federal Rule of Civil Procedure 30(b)(6)
   testimony. Any relevance of this information would be outweighed by the prejudice and confusion
   it would cause the jury. See Fed. R. Evid. 403.
          On October 14, 2020, Plaintiffs took the deposition of a TMC representative pursuant to
   Federal Rule of Civil Procedure 30(b)(6). As required by this rule, TMC designated Stefan Young
   on its behalf to testify on topics designated by Plaintiffs. Plaintiffs are entitled to rely on this
   testimony, which is binding on Defendants. Craig Air Ctr., Inc. v. City of Jacksonville, 2012 WL
   3139547, at *7 n.22 (M.D. Fla. Aug. 1, 2012) (determining that testimony from a 30(b)(6) witness
   “constitutes the official testimony of the corporation”).
          Rule 30(b)(6) plainly states that the witness designated by an organization “must testify
   about information known or reasonably available to the organization.” Fed. R. Civ. P. 30(b)(6).
   This means that an organization must produce a witness who has “been prepared to provide
   testimony to bind the entity and to explain the corporation’s position.” QBE Ins. Corp. v. Jorda
   Enters., Inc., 277 F.R.D. 676, 691 (S.D. Fla. 2012). Further, because an organization has an
   opportunity to select its Federal Rule of Civil Procedure 30(b)(6) deponent and prepare the
   witnesses for noticed topics, “some extraordinary explanation must be required before a



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   corporation is allowed to retreat from binding admissions in the testimony of its Rule 30(b)(6)
   designee.” Est. of Thompson v. Kawasaki Heavy Indus., Ltd., 291 F.R.D. 297, 304 (N.D. Iowa
   2013). See also Belen Jesuit Preparatory Sch., Inc. v. Sportswear, Inc., 2016 WL 4718161, at *3
   (S.D. Fla. Apr. 22, 2016) (excluding testimony of witness because, inter alia, the testimony
   contradicted 30(b)(6) witness’ testimony). Allowing Defendants to question or contradict their
   prior Federal Rule of Civil Procedure 30(b)(6) testimony would serve as an impermissible ambush
   on Plaintiffs and their strategy at trial. See Rainey v. Am. Forest & Paper Ass’n, 26 F. Supp. 2d
   82, 95 (D.D.C. 1998) (precluding introduction of affidavit contradicting corporate designee’s
   testimony because Rule 30(b)(6)“aims to prevent a corporate defendant from thwarting inquiries
   during discovery, then staging an ambush during a later phase of the case”).
          Because TMC is bound by the testimony proffered by its Federal Rule of Civil Procedure
   30(b)(6) witness, it should not be prevented from presenting any testimony questioning,
   contradicting, or negatively referencing 30(b)(6) testimony. See QBE Ins. Corp., 277 F.R.D. at
   690 (noting that 30(b)(6) testimony “can be binding on the corporation and prohibit it from offering
   evidence at trial on those points”).
          Plaintiffs’ MIL No. 7: Pretrial Motions. Plaintiffs move to preclude Defendants from
   presenting any testimony, documents, evidence, or argument that reference the fact that this Court
   has granted or denied any pretrial motions or portions thereof including, without limitation, this
   Court’s ruling on Defendants’ Motions for Summary Judgment. Any reference to the Court’s
   ruling on Defendants’ Motions for Summary Judgment is irrelevant, or if relevant, any such
   relevance would be outweighed by the prejudice and confusion it would cause the jury. See Fed.
   R. Evid. 402, 403. As to any granted pretrial motion, such ruling necessarily removes the issue
   from the jury’s consideration and “courts routinely exclude evidence and argument related to
   previously dismissed claims as irrelevant and prejudicial.” DeBose v. Univ. of S. Fla. Bd. of Tr.,
   2018 WL 8919981, at *2 (M.D. Fla. Sept. 9, 2018) (granting motion in limine to exclude reference
   to any claims resolved on summary judgment). Any references to rulings on pretrial motions would
   only serve to confuse the jury or prejudice Plaintiffs and therefore such a reference must be
   excluded. See Fed. R. Evid. 403. See also King v. Cath. Charities of Nw. Fla., Inc., 2018 WL
   3848819, at *2 (N.D. Fla. Aug. 12, 2018) (finding that “the Court’s summary judgment ruling
   [has] no probative value on the remaining claim in this case”).




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          Plaintiffs’ MIL No. 8: Claims against and Dealings with Non-Parties. Plaintiffs move
   to preclude Defendants from presenting any testimony, documents, evidence, or argument
   referencing: (1) that Plaintiffs have not sued non-parties, including without limitation,
   manufacturers, suppliers, distributors or other unnamed co-conspirators such as DENSO
   International, Inc. (“DENSO”) (the manufacturer of the HVAC systems at issue); and (2)
   Plaintiffs’ relationship or dealings with any such non-party.
          Given Plaintiffs’ decision to only sue certain co-conspirators, Defendants may seek to
   make arguments or assertions at trial about Plaintiffs’ failure to bring suit against certain non-
   parties and unnamed members of the Racketeer Influenced and Corrupt Organizations Act
   (“RICO”) association-in-fact enterprise, including other distributors, dealerships, DENSO, and
   any employees of those companies. Such information is irrelevant at trial and should be excluded.
   Plaintiffs’ decision regarding which entities to sue has no bearing on any fact of “consequence in
   determining” the issues in this action, which strictly concern Defendants’ misconduct in
   misrepresenting and concealing a known HVAC Defect from the public in order to defraud over
   200,000 purchasers of Camry Vehicles. Fed. R. Evid. 401.
          Moreover, even if somehow deemed relevant, any such relevance would be heavily
   outweighed by the prejudice and confusion it would cause the jury. See Fed. R. Evid. 402, 403.
   Defendants have not filed any motion alleging Plaintiffs failed to name a necessary party to this
   action under Federal Rule of Civil Procedure 19 and this issue will not be before the jury. Any
   potential inference or suggestion that Plaintiffs have targeted or selected only Defendants among
   other potentially culpable parties would be prejudicial and should not be admitted into evidence.
   Such evidence or argument should also be excluded because it could confuse and mislead the jury
   to believe that Plaintiffs’ decision not to sue those non-parties limits Plaintiffs’ ability to prove
   facts or claims at issue here—which is wholly incorrect. See, e.g., Anderson v. Brown Indus., 2014
   WL 12521732, at *10 (N.D. Ga. Mar. 14, 2014) (given limited relevancy of evidence, evidence
   excluded because it would waste time and confuse jury).
          Additionally, Plaintiffs neither pled nor advanced any claims arising from a relationship or
   dealings with any non-party distributor or unnamed co-conspirator, including DENSO, with whom
   Plaintiffs have no relationship. Defendants have made no counterclaim concerning any such
   relationship or dealings either, as none exist. Because Plaintiffs’ claims—and Defendants’
   defenses—concern Plaintiffs’ relationship and dealings with Defendants only, any inquiry or



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   reference into Plaintiffs’ relationship or dealings with any non-party, including DENSO, or other
   unnamed co-conspirator, is irrelevant and would confuse the jury.
          As such, Defendants should be prevented from presenting evidence or argument
   referencing either Plaintiffs’ failure to sue non-parties, including DENSO, or Plaintiffs’ (non-
   existent) relationship or dealings with any such non-party.
          Plaintiffs’ MIL No. 9: Use of DENSO HVAC Systems in Other Vehicles. Plaintiffs
   move to preclude Defendants from presenting any testimony, documents, evidence, or argument
   referencing whether other automakers use or have used in their vehicles the DENSO HVAC
   systems at issue here and/or that other automakers’ use of those HVAC systems is evidence that
   the HVAC systems in the Class Vehicles were not defective. Defendants should not be permitted
   to suggest that its use of the HVAC systems in the Class Vehicles was proper, or that those HVAC
   systems were free of any design defect, because of unrelated decisions made by third-party
   automakers. This type of argument, based not on evidence but on stereotypes and assumptions,
   can have no relevant purpose, is quintessentially prejudicial, and should be precluded because it
   would lead the jury to make decisions on an improper basis.
          Whether other automakers may have used the same or similar HVAC systems in their
   vehicles has de minimis relevance, at best, to the facts “of consequence in determining” the issues
   in this trial. See Fed. R. Evid. 401. The jury will not be asked to decide anything concerning
   vehicles other than the Class Vehicles or the design actions of automakers other than Toyota.
   Moreover, the manufacture and design decisions of other automakers with respect to non-Class
   Vehicles say virtually nothing about the usability or propriety of the HVAC systems in the Class
   Vehicles. Any arguments suggesting the jury make findings based on actions of non-Toyota
   automakers are unfounded and inappropriate given their lack of relevance and speculative nature,
   and would create a severe risk of prejudice to Plaintiffs. Such arguments would lead the jury to
   confuse the issues, and to render findings on an improper basis, and should therefore not be
   permitted in any form. See Plantation Pipeline Co. v. Cont’l Cas. Co., 2008 WL 4737163, at *2
   (N.D. Ga. July 31, 2008) (“Evidence is unfairly prejudicial when it has an undue tendency to
   suggest a decision on an improper basis.”).
          Plaintiffs’ MIL No. 10: Other HVAC Litigation Against Toyota. Plaintiffs move to
   preclude Defendants from presenting any testimony, documents, evidence, or argument
   referencing other HVAC litigation against Toyota or any expert reports or opinions provided/or



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   arguments made in those litigations as well as any rulings or decisions issued in those litigations.
   This information is not relevant and any possible probative value is outweighed by the prejudice
   and confusion it would cause the jury. See Fed. R. Evid. 402, 403. Specifically, Plaintiffs anticipate
   that Defendants will attempt to make reference at trial to expert reports or opinions and/or
   arguments made in the following actions: Stockinger v. Toyota Motor Sales, U.S.A., Inc., Case No.
   17-cv-0035 (C.D. Cal.) and Salas v. Toyota Motor Sales, U.S.A., Inc., Case No. 15-cv-8629 (C.D.
   Cal.), which include different parties, different claims, different geographic regions, and in some
   cases, different vehicles.
           Given that TMC, TEMA, and SET were not parties in Stockinger or Salas, different
   documents and different deposition testimony has been produced in those actions. The plaintiffs
   in Stockinger brought claims on behalf of vehicle owners across the United States, and the
   plaintiffs in Salas only sought certification of vehicles owners in California; accordingly, unlike
   here, the relationship between the Toyota Defendants and SET—a key component to Plaintiffs’
   RICO claims—was not at issue in this other litigation. If Defendants are permitted to reference or
   use evidence or expert reports submitted in these other lawsuits, Plaintiffs will thus need to explain
   the differences between these other lawsuits and how that impacts the issues being litigated here.
   As such, any potential probative value of these other lawsuits is substantially outweighed by the
   danger of unfair prejudice, as the jury may incorrectly believe that the outcome, rulings, or expert
   reports specific to other litigation are determinative of Plaintiffs’ allegations and Defendants’
   liability here.
           For these reasons, courts routinely exclude reference to other lawsuits, pursuant to Rule
   403. See Salinero v. Johnson & Johnson, 2019 WL 7753445, at *2 (S.D. Fla. Sept. 25, 2019)
   (finding evidence of other lawsuits had “limited probative value, which is far outweighed by the
   risk of undue prejudice, confusion of the issues, and misleading the jury”); Jablonski v. St. Paul
   Fire & Marine Ins. Co., 2009 WL 2252094, at *4 (M.D. Fla. July 24, 2009) (finding exclusion of
   evidence of prior lawsuit appropriate because the “probative value was substantially outweighed
   by the danger of unfair prejudice and confusion of the issues”); Compaq Comput. Corp. v.
   Ergonome Inc., 387 F.3d 403, 408-09 (5th Cir. 2004) (finding exclusion of evidence of prior
   lawsuit appropriate because the probative value “was outweighed by its prejudicial and
   inflammatory nature and by its tendency to confuse the jury with tangential litigation”); Sugar
   Ass’n, Inc. v. McNeil-PPC, Inc., 2008 WL 4755611, at *2 (C.D. Cal. Jan. 7, 2008) (excluding



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   evidence of other litigation because, even if it were found to be “marginally relevant,” the “dangers
   of unfair prejudice or confusing or misleading the jury substantially outweigh any probative
   value”).
          Indeed, at the outset of this litigation, this Court properly denied Defendants’ attempt to
   transfer this case to California to be litigated alongside Salas and Stockinger, finding “the proposed
   classes in this lawsuit differ significantly from the narrow certified-class in Salas, and the proposed
   classes in Stockinger.” Cardenas v. Toyota Motor Corp., 2019 WL 4705843, at *2 (S.D. Fla. Sept.
   26, 2019). This Court recognized that, not only did Stockinger omit the Camry from the class, but
   that “to the extent this lawsuit is similar to Salas because it also involves Toyota Camry models,
   other compelling reasons for not transferring this case to the Central District of California are
   immediately apparent: such as the chronology of the lawsuits, the composition of the defendants,
   and the claims involved.” Id. at *3. Accordingly, for the same reasons, reference to these other
   lawsuits or any expert opinions offered therein will be confusing and misleading to the jury, as
   these other cases involve different parties, different claims, different geographic regions, different
   discovery, and in some cases, different vehicles.
          Plaintiffs’ MIL No. 11: Interior or Exterior Condition of Plaintiffs’ Vehicles. Plaintiffs
   move to preclude Defendants from presenting any testimony, documents, evidence, or argument
   referencing that the HVAC odor was caused by the condition of Plaintiffs’ vehicles, including but
   not limited to, introducing such evidence through experts Jeffry Hicks and Robert Kuhn. This
   information is not relevant and any possible probative value is outweighed by the prejudice and
   confusion it would cause the jury. See Fed. R. Evid. 402, 403. Specifically, it is anticipated that
   Defendants will attempt to argue that HVAC odor in Plaintiffs’ vehicles came from sources other
   than the defective HVAC system, such as food, dirt, or other materials left inside the passenger
   compartment of Plaintiffs’ vehicles.
          This case concerns a design defect in the Class Vehicles’ HVAC systems which “allows
   condensing water to accumulate and allows naturally present organic contaminants to be trapped,
   kept moist and cultivate organic matter such as microbes, bacteria, mold and fungus” (the “HVAC
   Defect” or “Defect”).2 Specifically, the presence of defective design features, including the
   evaporator core air flow, condensation and drainage design, along with the use of improper foam


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    Pls’ Mot. for Class Certification, ECF No. 181, at Ex. 4 (Expert Report of Murat Okçuoğlu at 24
   (Oct. 20, 2020)).


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   and the absence of charcoal filters and Afterblow, all contribute to allow moisture to accumulate
   in the HVAC systems, which in turn leads to microbial growth and resulting odor. Accordingly,
   in determining whether the HVAC systems are defective, the jury will must decide whether the
   HVAC systems have a defective design that allows moisture to accumulate and traps organic
   materials regardless of whether that results in any particular Plaintiff or Class member
   experiencing odor.
          Accordingly, the cleanliness of the Plaintiffs’ vehicles is not relevant and would be highly
   prejudicial. Even assuming that Defendants were correct that food or other sources lead to certain
   odors in Plaintiffs’ vehicles, those are not HVAC odors and that finding has no bearing on whether
   the HVAC systems in Plaintiffs’ vehicles have a design defect that allows condensing water to
   accumulate and organic contaminants to be trapped. That finding should be ignored due to
   relevancy, and significantly, should be excluded due the strong possibility of juror confusion
   regarding whether HVAC odor must be experienced in order for there to be a defect. See Fed. R.
   Evid. 403.
          Moreover, this prejudice is further compounded by Defendants’ attempt to introduce
   evidence regarding the cleanliness of Plaintiffs’ vehicles through the expert testimony of Robert
   Kuhn and Jeffrey Hicks. Nearly half of Kuhn’s “expert” report consists of nothing more than
   Kuhn’s photographs and descriptions about the interior and exterior conditions of Plaintiffs’
   vehicles, which purportedly served as the basis of Kuhn’s finding that “no design or manufacturing
   defects with the HVAC systems of those vehicles were present.” Expert Report of Robert Kuhn
   at 17-28 (Oct. 20, 2020), ECF No. 205-5, at Ex. A. Hicks similarly includes a number of “Visual
   and Olfactory Observations” about Plaintiffs’ vehicles, including notes regarding whether his
   investigators perceived odors, what objects his investigators saw inside Plaintiffs’ vehicles, and
   whether his investigators observed “soiling in the foot wells.” Suppl. Expert Report of Jeffrey at
   10, 14-15, 18 (Nov. 6, 2020), ECF No. 205-17, at Ex. A. None of these observations bear any
   relevance regarding whether an HVAC Defect exists in the Class Vehicles.
          In addition, setting aside the irrelevant nature of such observations, introducing evidence
   about the interior and exterior conditions of Plaintiffs’ vehicles through expert testimony is highly
   prejudicial because jurors are likely to ascribe more weight to such evidence if it is introduced
   through experts. See United States v. Frazier, 387 F.3d 1244, 1263 (11th Cir. 2004) (“Because of
   the powerful and potentially misleading effect of expert evidence, . . . sometimes expert opinions



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   that otherwise meet the admissibility requirements may still be excluded by applying Rule 403.”);
   see also id. (Because “expert testimony may be assigned talismanic significance in the eyes of lay
   jurors,” a court “must take care to weigh the value of such evidence against its potential to mislead
   or confuse.’). The balance further weighs in favor of exclusion since jurors are well-suited to
   understand whether Plaintiffs’ vehicles are “clean” based on their own lay understanding and
   Defendants’ experts fail to provide any link between the HVAC odor Plaintiffs reported and the
   interiors of their vehicles beyond rank speculation.3 Evans v. Mathis Funeral Home, Inc., 996 F.2d
   266, 268 (11th Cir. 1993) (affirming exclusion of expert testimony where testimony was within
   common knowledge of jurors and testimony was based on assumptions that were not supported by
   the record); King v. Cessna Aircraft Co., 2010 WL 1980861, at *5 (S.D. Fla. May 18, 2010) (“We
   thus cannot cast a blind eye to such rank speculation being presented to our jury under the guise
   of reliable expert testimony.”).
            Plaintiffs’ MIL No. 12: Argument that HVAC Odor Is an “Industry-Wide” Problem
   Present in All Vehicles. Plaintiffs move to preclude Defendants from presenting any testimony,
   documents, evidence, or argument that HVAC odor is an “industry-wide” problem present in all
   vehicles or dealt with by all auto manufacturers. This information is not relevant and any possible
   probative value is outweighed by the prejudice and confusion it would cause the jury. See Fed. R.
   Evid. 402, 403.
            Again, this litigation concerns a specific design defect in the Class Vehicles’ HVAC
   systems, which allows condensing water to accumulate and allows naturally present organic
   contaminants to be trapped, kept moist, and cultivate organic matter such as microbes, bacteria,
   mold, and fungus. Thus, in assessing whether the Class Vehicles are defective, the jury must
   consider whether Plaintiffs have satisfied their burden of proving that the HVAC systems in the
   Class Vehicles have design elements that allow condensing water to accumulate and organic
   contaminants to be trapped, kept moist, and cultivate organic growth. Plaintiffs will show that the
   HVAC systems have a defective design through Defendants’ documents, fact witness testimony,
   expert witness testimony, and other evidence establishing the Defect in Class Vehicles. Whether
   other automakers have vehicles with defective HVAC systems or whether non-Class Vehicles have




   3
       See Ex 1 Kuhn Dep. Tr. at 270:21-275:11.


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   HVAC odor is irrelevant to the specific question here—whether the HVAC systems in Class
   Vehicles are defective.
            As with information about other automakers’ use of DENSO HVAC systems, information
   suggesting that other automakers’ vehicles have HVAC odor says nothing about whether the
   HVAC systems in the Class Vehicles are defective. Notably, Defendants have not set forth a single
   affirmative defense in their Answers that would conceivably allow them to evade liability here
   based on HVAC odor purportedly being an “industry-wide” condition in all vehicles. See Defs’
   Answers to Pls.’ Am. Compl., ECF Nos. 55, 56, 57, 58. Plaintiffs have brought RICO and Florida
   Deceptive and Unfair Trade Practices Act claims, not strict liability product defect claims under
   state law, and Plaintiffs thus have no obligation to show a “feasible alternative design,” nor are
   “state of the art” arguments as to why Defendants did not install non-defective HVAC systems
   relevant; rather, the jury must only decide whether Defendants misrepresented and concealed the
   fact that the HVAC systems in Class Vehicles allow condensing water to accumulate and organic
   contaminants to be trapped, kept moist, and cultivate organic growth. Any arguments suggesting
   the jury make findings based on actions of non-Toyota automakers are irrelevant to that task and
   would create a severe risk of jury confusion and prejudice to Plaintiffs. See Hernandez v. Crown
   Equip. Corp., 2015 WL 4067695, at *5 (M.D. Ga. July 2, 2015) (excluding evidence of other
   manufactures’ products because “what other manufacturers do or do not do in terms of design
   makes little difference and is not relevant to this case,” only permitting defendant to explain the
   basis for its choice not to include the contested design elements in the vehicle at issue).
            Plaintiffs’ MIL No. 13: EPA Report and Validity of MSQPCR. Plaintiffs move to
   preclude Defendants from presenting any testimony, documents, evidence, reference, or argument
   relating to the Environmental Protection Agency (“EPA”) Office of the Inspector General Report
   No. 13-P-0356 (“EPA Report”) and any testimony, documents, evidence, or argument suggesting
   Mold-Specific Quantitative Polymerase Chain Reaction (“MSQPCR”) is invalid.
            Any reference to the EPA Report is irrelevant, or if relevant, any such relevance would be
   outweighed by the prejudice and confusion it would cause the jury. See Fed. R. Evid. 402, 403.
   The EPA Report discusses the use of ERMI4 with a form of DNA testing called MSQPCR. See
   EPA Report, Ex. 5 to Mot. to Exclude Expert Ops. of Murat Okçuoğlu, Steven Parkhurst, and Don



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       “ERMI” means the Environmental Relative Moldiness Index developed by the EPA.


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   Wright for Purposes of Class Certification and Summ. J., ECF No. 195-06. Specifically, the EPA
   Report takes issue with the use of MSQPCR testing only when it is conducted in conjunction with
   ERMI. The EPA Report states that its purpose is to “determine whether the EPA’s ERMI tool had
   been properly peer reviewed and validated for public use.” Id. at 1. According to the EPA Report,
   the “ERMI tool” means “the process of collecting samples in accordance with the ERMI protocol,
   analyzing the samples using the MSQPCR and calculating a score using the ERMI algorithm.” Id.
   Accordingly, any findings expressed in the EPA Report are limited to conducting MSQPCR testing
   in conjunction with the use of the ERMI protocol and algorithm—none of which was done here.
   The EPA Report is not applicable to MSQPCR, when used without ERMI, and when conducted
   by an American Industrial Hygiene Association (“AIHA”) accredited lab, such as the lab used
   here. The EPA Report also discouraged the “public use” of ERMI rather than use by researchers.
          Here, Plaintiffs’ expert Steven Parkhurst performed testing that was analyzed through
   MSQPCR only and did not use ERMI. Because ERMI was not used by Parkhurst, the EPA
   Report’s discussion of MSQPCR used in connection with ERMI is wholly irrelevant and should
   be excluded. Here, Parkhurst used MSQPCR for research purposes as a qualified, certified expert,
   and the MSQPCR was conducted at a lab that is certified by the AIHA to conduct MSQPCR. In
   addition, Parkhurst’s use of MSQPCR was not for “public use.” Accordingly, the EPA’s discussion
   of public use of MSQPCR in conjunction with ERMI is wholly irrelevant to the MSQPCR
   conducted here, which was performed by an AIHA accredited lab, and has no relation to the ERMI
   protocol or algorithm. Therefore, the EPA Report is wholly irrelevant and would only serve to
   confuse the jury, and thus Defendants should be prohibited from referencing the EPA Report. See
   Fed. R. Evid. 401, 402, 403.
          Moreover, because the EPA Report relates to a type of testing that was not conducted by
   Parkhurst, to the extent the EPA Report is relevant, any relevance would be outweighed by the
   prejudice and confusion it would cause the jury, and for this reason alone Defendants should be
   prohibited from referencing the EPA Report. See Fed. R. Evid. 402, 403. See also Grace & Naeem
   Uddin, Inc. v. N. Broward Hosp. Dist., 2013 WL 6328582, at *1 (S.D. Fla. Dec. 5, 2013)
   (excluding evidence pursuant to FRE 402 and 403 because “any small relevance” the evidence had
   was “outweighed by the confusion and prejudice such information could cause.”).
          Further, because the EPA Report is irrelevant and should be excluded, Defendants should
   be precluded from making any argument that MSQPCR is invalid. MSQPCR is recognized as an



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   industry accepted means of conducting mold analysis and the AIHA has certified labs that conduct
   MSQPCR, including the lab used here. Defendants have presented no evidence to the contrary and
   any suggestion that MSQPCR is invalid would only serve to confuse the jury. See Fed. R. Evid.
   402, 403. As such, Defendants should be precluded from presenting any testimony, documents,
   evidence, or argument relating to the EPA Report or suggesting that MSQPCR is invalid.
          Plaintiffs’ MIL No. 14: References to Testing Performed on Plaintiffs’ Vehicles by
   Anyone Other than Parkhurst or Hicks. Plaintiffs move to preclude Defendants from presenting
   any testimony, documents, evidence, or argument referencing testing performed on Plaintiffs’
   vehicles by anyone other than Parkhurst or Hicks. Such reference is irrelevant, or if relevant, any
   such relevance would be outweighed by the prejudice and confusion it would cause the jury. See
   Fed. R. Evid. 402, 403.
          Any testing performed by experts other than Parkhurst or Hicks is irrelevant here. Plaintiffs
   did not submit testing or analysis performed by anyone other than Parkhurst in support of their
   claims, and Parkhurst did not rely on any testing or analysis other than his own. Parkhurst
   performed his own testing and analysis—using the superior and far more precise MSQPCR
   methodology—and chose not to rely on other testing performed on Plaintiffs’ vehicles, which used
   a different methodology. See Pfizer Inc. v. Teva Pharm. USA, Inc., 461 F. Supp. 2d 271, 274
   (D.N.J. 2006) (“An expert must consider enough factors to make his or her opinion sufficiently
   reliable in the eyes of the court . . . [but the] expert need not consider every possible factor to
   render a ‘reliable’ opinion.”). As a result, Defendants should not be able to present any negative
   inference to the jury about Parkhurst’s decision not to analyze or rely on testing performed by
   others. Furthermore, any reference to other testing is overly prejudicial. Experts have a right to
   determine what testing methodology is appropriate. Parkhurst’s methodology will be evaluated by
   the Court to determine its reliability and soundness; no assessment as to whether the testing
   methodologies related to mold sampling and analysis of any experts has been properly evaluated
   by the Court. See Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 592-93 (1993) (explaining
   that a district court must evaluate whether the reasoning and methodology of an expert is
   scientifically valid). As such, any reference to testing performed by anyone other than Parkhurst
   or Hicks is inappropriate, irrelevant, and will only serve to confuse the jury. See Fed. R. Evid. 402,
   403.




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          Accordingly, Defendants should be prevented from presenting any testimony, documents,
   evidence, arguments, or referencing any testing performed on Plaintiffs’ vehicles by anyone other
   than Parkhurst or Hicks. See Fed. R. Evid. 402, 403.
   IV.    CONCLUSION
          For the foregoing reasons, Plaintiffs respectfully request the Court grant their MILs and
   order that Defendants, their counsel, experts, and any and all of their corporate representatives and
   witnesses, be precluding from offering at trial information or evidence in any form questioning or
   referencing the matters set forth in the MILs and from presenting to the jury in any manner,
   whether in voir dire, opening statements, questions to witnesses, objections, closing arguments, or
   otherwise any information regarding the matters set forth in the MILs.


               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

          Counsel for Plaintiffs have conferred with Defendants’ counsel who indicated Defendants’
   opposition to the relief requested herein.


   Dated: January 29, 2021                       Respectfully submitted,
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                                   CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on January 29, 2021, I electronically filed the foregoing with
   the Clerk of the Court using CM/ECF. I also certify that the foregoing is being served this day on
   all counsel of record via transmission of Notice of Electronic Filing generated by CM/ECF.

                                                       /s/ Peter Prieto
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